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                            UNITED STATES DISTRICT COURT​
                           FOR THE DISTRICT OF COLUMBIA

   American Foreign Service Association, et
   al.,

   Plaintiffs,

   v.

   President Donald J. Trump, et al.,
                                                  Case No. 1:25-cv-00352
   Defendants.




        PLAINTIFFS’ MOTION FOR LEAVE TO SUPPLEMENT THE RECORD

        Pursuant to Local Civil Rule 65.1(d), Plaintiffs move for leave to supplement the record

to include declarations pertinent to this Court’s preliminary injunction decision, including

the harms Plaintiffs, their members, and the public writ large will face if the dissolution

of the United States Agency for International Development is not preliminarily enjoined.

These declarations are attached as exhibits hereto.

        Counsel for Plaintiffs has conferred with counsel for the Defendants as required by Local

Civil Rule 7(m). Defendants oppose this motion. A proposed order is attached.




Signatures on following page
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Dated: February 11, 2025           Respectfully submitted,

                                  /s/ Kaitlyn Golden
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                                   CERTIFICATE OF SERVICE

       On February 11, 2025, I caused the foregoing and accompanying proposed order and

declarations to be filed electronically via the Court’s CM/ECF system, which provides electronic

notice to all counsel of record.


Dated: February 11, 2025                                             /s/ Kaitlyn Golden
                                                                       Kaitlyn Golden
